      Case 4:21-cv-00187-MW-MAF Document 290 Filed 11/15/21 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

FLORIDA STATE CONFERENCE
OF THE NAACP, et. al.,

            Plaintiffs,

v.                                       Case No.: 4:21cv187-MW/MAF

LAUREL M. LEE, in her official
capacity as Florida Secretary of
State, et al.,

            Defendants,

and

NATIONAL REPUBLICAN
SENATORIAL COMMITTEE and
REPUBLICAN NATIONAL
COMMITTEE,

          Intervenor-Defendants.
___________________________________/

 ORDER DENYING MOTION FOR SUMMARY JUDGMENT AS MOOT

      After filing her motion for summary judgment, ECF No. 281, Defendant Lee

filed a corrected motion for summary judgment, ECF No. 285. Accordingly,

Defendant Lee’s original motion, ECF No. 281, is DENIED as moot.

      SO ORDERED on November 15, 2021.
                                   s/Mark E. Walker
                                   Chief United States District Judge
